Case 3:20-cv-60045-JPJ-PMS Document 102 Filed 10/22/20 Page1of8 Pageid#: 15209

U: S. Department of Justice

 

Environment and Natural Resources Division

 

 

 

 

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Denver Field Office-- .-- - - ------- ‘ ~ - - Telephone (303) 844-1475
999 18" Street Facsimile (303) 844-1350
South Terrace, Suite 370
Denver, CO 80202
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moe cree - SS ICE-U:S. DIST. COURT
. wee Bee oe - - . -AT CHARLOTTE
VIA FED EX. oe. a ee RILED ee VA
Clerk of Court. a per: 222000
United States District Court for Western District of Virginia oo aye
255 W. Main Street, Room 304 _ We
_ __ Charlottesville"VA 2290200 ee _
(454) 296-9284 — 9284
Re:. Wild Virginia etal. v. CEO, 3: 20-cv-00045-JPJ-PMS |
--. = + Dear Sir or ‘Madam, —— or - Do . owes — 7
oe ee "Enclosed please: find a a copy of a USB flash drive conitaining the Connell on
Environmental Quality’ s Administrative Record for the above captioned case. A‘ copy ‘of
Defendants’ notice of lodging of the administrative record is enclosed for reference.
If you have any questions, please call me at (303) 844-1475.
Respectfully,
/s/ Barclay T. Samford
Barclay T. Samford
Trial Attorney
Environment and Natural Resources Division
Case 3:20-cv-00045-JPJ-PMS Document 102 Filed 10/22/20 Page 2of8 Pageid#: 15210
Case 3:20-cv-00045-JPJ-PMS Document 101 Filed 10/20/20 Page1of3 Pageid#: 3782

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

WILD VIRGINIA, VIRGINIA WILDERNESS
COMMITTEE, UPSTATE FOREVER, SOUTH
CAROLINA WILDLIFE FEDERATION, NORTH
CAROLINA WILDLIFE FEDERATION, NATIONAL
TRUST FOR HISTORIC PRESERVATION,
MOUNTAINTRUE, HAW RIVER ASSEMBLY,
HIGHLANDERS FOR RESPONSIBLE
DEVELOPMENT, DEFENDERS OF WILDLIFE,
COWPASTURE RIVER PRESERVATION
ASSOCIATION, CONGAREE RIVERKEEPER, THE
CLINCH COALITION, CLEAN AIR CAROLINA,
CAPE FEAR RIVER WATCH, ALLIANCE FOR THE
SHENANDOAH VALLEY, and ALABAMA RIVERS
ALLIANCE,

Case No. 3:20-cv-00045-JPJ-PMS

Plaintiffs,
v.

COUNCIL ON ENVIRONMENTAL QUALITY and
MARY NEUMAYR IN HER OFFICIAL CAPACITY
AS CHAIR OF THE COUNCIL ON
ENVIRONMENTAL QUALITY,

Defendants,
and

AMERICAN FARM BUREAU FEDERATION,
AMERICAN FOREST RESOURCE COUNCIL,
AMERICAN FUEL & PETROCHEMICAL
MANUFACTURERS, AMERICAN PETROLEUM
INSTITUTE, AMERICAN ROAD &
TRANSPORTATION BUILDERS ASSOCIATION,
CHAMBER OF COMMERCE OF THE UNITED
STATES OF AMERICA, FEDERAL FOREST
RESOURCE COALITION, INTERSTATE NATURAL
GAS ASSOCIATION OF AMERICA, and NATIONAL
CATTLEMEN’S BEEF ASSOCIATION,

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Defendants-Intervenors.

 
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NOTICE OF LODGING OF ADMINISTRATIVE RECORD

Federal Defendants, by their undersigned counsel, hereby give notice of the lodging of the
administrative record in the above captioned case. The administrative record consists of 1,430,762
pages, bates numbered NEPA_00000001 - NEPA_01431121. The record is certified by CEQ
employee Amy Coyle. Mr. Coyle’s certification is attached as Exhibit 1. The index to the
administrative record is attached as Exhibit 2.

Because the record is extremely voluminous, it is being submitted for manual filing on a
single USB flash drive. The USB flash drive contains an index “hyperlinked” to the specified
documents to assist the user in locating each document.

The administrative record will be shipped on this date for over-night delivery to: the Clerk
of Court for the United States District Court for the Western Division of Virginia; the Chambers
of the Honorable James P. Jones, counsel for Plaintiffs Kimberley Hunter, and counsel for
Defendant-Intervenors Michael Kimberly.

Respectfully submitted this 20th day of October, 2020,

DANIEL P. BUBAR JEFFREY BOSSERT CLARK
Acting United States Attorney Assistant Attorney General
. JONATHAN BRIGHTBILL
/s/ Krista Frith Principal Deputy Assistant Attorney General
Assistant United States Attorney PAUL E. SALAMANCA
Virginia Bar No. 89088 Deputy Assistant Attorney General
United States Attorney’s Office
P.O. Box 1709 /s/ Barclay T. Samford
Roanoke, VA 24008 BARCLAY T. SAMFORD
TEL (540) 857-2250 NM State Bar No. 12323 .
FAX (540) 857-2614 Senior Attorney
Krista. frith@usdoj.gov U.S. Department of Justice

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Case 3:20-cv-00045-JPJ-PMS Document 101 Filed 10/20/20 Page 3of3 Pageid#: 3784

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IN THE UNITED STATES DISTRICT COURT
oo FOR THE WESTERN DISTRICT OF VIRGINIA Te
CHARLOTTESVILLE DIVISION
eS a ee
ee WILD VIRGINIA, VIRGINIA a a
WILDERNESS COMMITTEE,” ~~) Case No. 3:20-cv-00045-IPI-PMS> == = = =
__. .. . . UPSTATE FOREVER, SOUTH. Oy 2
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So, FEDERATION, NORTH CAROLINA - }o2 2 - _
._. WILDLIFE-FEDERATION,.—. — ——____— — -_ ee Le _- a

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- PRESERVATION, Lyne

 

MOUNTAINTRUE, HAW RIVER
ASSEMBLY, HIGHLANDERS FOR ~~ ) ~~
——_ -RESPONSIBLE DEVELOPMENT; —— ee
DEFENDERS OF WILDLIFE, yo.

““COWPASTURE RIVER
PRESERVATION ASSOCIATION,

" CONGAREE RIVERKEEPER, THE ~~ )

T===S7 5 © CLINCH COALITION, CLEAN-AIR “==

--— CAROLINA, CAPE FEAR RIVER: -~ —~)- -~-

 

 

_ WATCH, ALLIANCEFORTHE. ys
SHENANDOAH VALLEY, and
ALABAMA RIVERS ALLIANCE, )
)
Plaintiffs, )
Vv.

)
COUNCIL ON ENVIRONMENTAL?
QUALITY and MARY NEUMAYRIN |)

HER OFFICIAL CAPACITY AS
CHAIR OF THE COUNCIL ON )
ENVIRONMENTAL QUALITY,
Defendants. )

DECLARATION OF AMY COYLE

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Case 3:20-cv-00045-JPJ-PMS Document 102. Filed 10/22/20 Page 6 of 8 Pageid#: 15214

I, Amy Coyle, do hereby declare as follows:

1. . Lam the Deputy General Counsel at the Council on Environmental Quality . .. __. _.

(CEQ). As Deputy General Counsel, I am responsible for advising on the legal ramifications on

- all actions associated with CEQ’ S statutory responsibility for advising the President omn*

—-- environmental matters, coordinating ¢ environmental | policies within the Executive Branch, — 7 oo

 

complying with various statutes including the F1 the. Freedom of Information Act (FOIA): I have been

in this position since ‘August 2, 2020. Before jc ¢ joining CEQ, I was employed by thé U. S.

Department of Transportation C Office of the e Secretary as a Senior Attorney focusing on the oo

==" "" overseeing the implementation of the- “National Environmental Policy -Act (NEPAY, and-—---=---—

 

Department's National Environmental Policy Act (NEPA) compliance. I came to CEQ as a

detailee j in December 2018 and joined CEQ as. a full-time employee on August: 2, 2020.

a - Jam familiar with-CEQ’s-authorities, , regulations, policies, and activities: -Lhave -- _— ~

—~werked on legal issues associated W withr NEPA “and infrastractare development for the past le eleven =

years.

3. In my role as Deputy General Counsel, I have been assigned to compile the
administrative record for the final rule titled, “Update to the Regulations Implementing the
Procedural Provisions of the National Environmental Policy Act,” which was the first
comprehensive revision of the CEQ NEPA implementing regulations in over 40 years. 85 Fed.
Reg. 43,304 (July 16, 2020).

4. As part of its two-year rulemaking under the Administrative Procedure Act
(APA), CEQ considered many source documents and public comments. The administrative
record includes over thirty years of guidance issued by CEQ; approximately 12,500 comments

on its Advance Notice of Proposed Rulemaking and 1.1 million comments on its Notice of
Case 3:20-cv-00045-JPJ-PMS Document 102 Filed 10/22/20 Page 7of8 Pageid#: 15215

Proposed Rulemaking and testimony received through public hearings; and studies and reports
on the NEPA process, such as the length and timeframes for completing NEPA reviews. To the

best of my knowledge, the index for the administrative record lists each of those documents

CEQ did not withhold any documents from the record based’on an assertion of privilege

; Pursuant to 28 U.S.C. § 1746, I declare under er penalty ity.< of | perjury th that the foregoing is is true ca

 

a ~ and comet t to. ‘the best of my y knowledge. - .

 

ee Executed on this the 20th day of. October, 2020, . ce

 

I Bap Gen ~ FT
: eputy General Counsel -

- - Council-on Environmental- al Quality

 

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Case 3:20-cv-00045-JPJ-PMS.:Document 102 Filed 10/22/20 Page 8 of 8 Rageid#: 15216

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
